Case 2:25-cv-02998-KSH-AME        Document 29      Filed 05/05/25    Page 1 of 11 PageID: 461




                          Declaration of Elizabeth Goss, Esq.

  I, Elizabeth A. Goss, declare the following under pain and penalty of perjury:

  Background

        1.     I am over 18 years of age and am fully competent to make this declaration.

  I have over 25 years of experience as a licensed immigration attorney. I earned my Juris

  Doctor in 1999, received bar admission in Massachusetts (1999) and New York (2000)

  and have practiced immigration law since that time. I am also admitted in the U.S. District

  Court for the District of Massachusetts.

        2.     Prior to practicing law, I was a Designated School Official (“DSO”)/

  Responsible Officer (“RO”) at Tufts University. As an institution certified by the

  government to enroll international students, Tufts is required to designate school

  officials, or DSOs, to manage and update nonimmigrant student records. As a DSO, I

  advised students enrolled in F-1 status at the University regarding maintenance of their

  nonimmigrant status and supported timely and complete recordkeeping and reporting to

  the Immigration and Naturalization Services (“INS”), the predecessor to the Department

  of Homeland Security (“DHS”). I later became the Director of the International Student

  and Scholar Office of Tufts University, Health Sciences Campus in Boston, where I was

  responsible for managing all aspects of immigration benefits for certain nonimmigrant

  visa holders and Legal Permanent Resident cases.

        3.     I was a founding member of NewFront Software, a company that created

  fsaATLAS, one of the first software programs designed for institutional use to interface

  with the Student and Exchange Visitor Program (“SEVP”). SEVP, now housed within

  Immigration and Customs Enforcement (“ICE”), certifies schools that are authorized to

  enroll F-1 and M-1 students. The Student & Exchange Visitor Information System


                                              1
Case 2:25-cv-02998-KSH-AME       Document 29      Filed 05/05/25    Page 2 of 11 PageID: 462




  (“SEVIS”) is a web-based system for maintaining information on nonimmigrant students

  and exchange visitors in the United States. In 2002, when INS developed the SEVIS

  system, our company worked directly with the agency to design a companion system that

  educational institutions could use to accurately exchange information with government

  databases governing nonimmigrant immigration records including the Department of

  State’s student visa program and SEVP, among others. In 2003, fsaATLAS was acquired

  by Sungard-SCT (which merged into Ellucian), and the product was renamed “Ellucian

  ISSM.”

        4.     Since obtaining my law license in December of 1999, I have specialized in

  immigration law, and specifically in academic immigration. I have been a member of

  NAFSA, the Association of International Educators (founded as the National Association

  of Foreign Student Advisors (“NAFSA”) since 1993. NAFSA is a nonprofit association

  “dedicated to international education and exchange.” This is the primary professional

  association for DSO international student advisors. I have also been a member of the

  American Immigration Lawyers Association (“AILA”) since 2000. As a member of NAFSA

  and AILA, I have served in various national leadership roles and have provided guidance

  to members on academic immigration issues through practice advisories, speaking

  engagements, book chapter contributions, and answering direct questions on listservs.

        5.     My immigration law practice focuses on a variety of different visa and status

  types. These include academic, medical, business, and family immigration, with expertise

  in F-1 (student) and J-1 (exchange visitor) visa categories, their accompanying relatives

  also known as derivatives, and institutional sponsorship obligations—including detailed

  knowledge of the F-1 international student program, SEVIS, and the laws, regulations,




                                             2
Case 2:25-cv-02998-KSH-AME        Document 29      Filed 05/05/25     Page 3 of 11 PageID: 463




  and legal guidance related to SEVIS and international students in F-1 status. I have

  represented both students and institutions in relation to SEVIS compliance, record

  termination requirements, and reinstatement applications.

  F-1 Student Visas and Status

         6.     SEVIS is used to monitor and manage information pertaining to

  nonimmigrant students in F-1, J-1, or M-1 visa status and their dependents. Schools

  sponsoring F-1 students must be certified by SEVP, a component of Immigration and

  Customs Enforcement (“ICE”)’s sub-agency, Homeland Security Investigations (“HSI”).

  As part of the SEVP certification process, schools must designate one employee as a

  Principal Designated School Official (“PDSO”) and at least one additional employee as a

  Designated School Official (“DSO”). Only the PDSO and DSO (or multiple DSOs) are given

  access to the SEVIS database. These school officials are the primary point of contact for

  the F-1 students and are responsible for processing SEVIS record terminations when

  required by regulations.

         7.     To obtain a nonimmigrant visa to study at an accredited institution in the

  United States, a foreign national must obtain a student visa (in this case F-1 visa) through

  the Department of State (“DOS”). The first step for a student interested in obtaining a

  student visa is to apply to a SEVP-approved school in the U.S.A. Once accepted, the

  student’s biographical and academic program must be entered into SEVIS by the DSO to

  secure a Form I-20 form the SEVP-approved school.

         8.     A DSO works with incoming international students to obtain the

  information and documentation needed to create an individual SEVIS record for each

  student. Each student record has a distinct SEVIS number. After record creation is


                                               3
Case 2:25-cv-02998-KSH-AME         Document 29      Filed 05/05/25    Page 4 of 11 PageID: 464




  completed, the DSO will issue and sign an Initial Form I-20, “Certificate of Eligibility for

  Nonimmigrant Student Status,” and forward that document to the student. With an Initial

  Form I-20 a student may apply for a student visa through the DOS; the student must also

  present this document at the consulate abroad when they appear for the visa interview.

  Once approved, the student will receive an immigration benefit called a “nonimmigrant

  visa” in their passport. This serves as authorization for admission to the U.S.A. that can

  be presented to a U.S. Customs and Border Protection (“CBP”) official when seeking

  admission at a port of entry. Once inspected and admitted, the nonimmigrant visa holder

  enters into F-1 student status. Visas and status are two separate immigration benefits.

         9.     For students already in the U.S.A. under another nonimmigrant status, the

  DSO still would issue and sign the Form I-20, but rather than interface with the DOS and

  consulates abroad, the student would seek a Change of Status to F-1 by filing a Form I-

  539 Application to Change or Extend Status with United States Citizenship and

  Immigration Services (“USCIS”). If approved by USCIS, the agency grants the requested

  status and provides evidence in the form of an I-94 Record of Admission with the notation

  D/S (or “Duration of Status”). Importantly, when an F-1 student or any other

  nonimmigrant receives an approved change of status, they do not have a corresponding

  visa that permits re-entry to the United States if they travel abroad. To secure a visa stamp

  that allows one to enter the U.S.A. from abroad after receiving a Change of Status from

  USCIS, one would need to depart the U.S.A., apply and be interviewed at a consulate

  abroad, and receive the visa stamp from DOS. However, the nonimmigrant visa holder is

  not required to leave the U.S.A. to secure a new visa stamp from DOS. If they do not depart

  the U.S.A., they do not need a new stamp.




                                               4
Case 2:25-cv-02998-KSH-AME        Document 29      Filed 05/05/25    Page 5 of 11 PageID: 465




         10.    After entering the U.S.A., the F-1 student reports to the DSO, enrolls and

  begins attending school, and the DSO updates the SEVIS record to confirm that the

  student is duly enrolled in a full-time program of study. These processes highlight the

  multiple U.S. departmental and agency touchpoints – ICE, USCIS, CBP, and DOS – one

  is likely to encounter when seeking nonimmigrant student status in the United States.

         11.    To maintain status, F-1 students must follow specific requirements

  including, but not limited to: maintaining a full-time course load each semester (with an

  exemption given for the final semester if less than full-time credits are needed to

  graduate); refraining from any unauthorized employment and only participating in

  authorized employment, whether on- or off-campus; reporting to the DSO before taking

  any actions that may affect their SEVIS record such as dropping to part-time status, taking

  medical leave, withdrawing from the program, participating in academic internships, or

  updating employment information post-graduation on OPT/STEM OPT and address

  changes, as well as reporting to the DSO at the start of each session or semester or using

  whatever method the DSO requires to confirm enrollment each semester. Although it is

  not required by the regulations, DSO’s best practice advice is to seek information from

  the student with regards to any change of status or adjustment to legal permanent

  resident. In my experience, institutions will request that information from their students

  to ensure accurate record keeping.

         12.    F-1 student status continues as long as the nonimmigrant continues to study

  in the United Sates because anticipated educational program end dates are subject to

  change and F-1 status includes periods of approved post-degree completion employment

  authorization following completion of their academic program. F-1 students are




                                              5
Case 2:25-cv-02998-KSH-AME        Document 29      Filed 05/05/25    Page 6 of 11 PageID: 466




  authorized to work up to 20 hours a week on campus and full-time during school vacation

  periods. The student’s I-94—the document which records the arrivals and departures of

  individuals visiting the United States—will have a “Duration of Status” or “D/S”

  annotation rather than a fixed end date.

         13.   Duration of Status (“D/S”), unlike status duration periods on other I-94

  forms, is unique because the expiration is tied to maintaining one’s status within the

  bounds of their I-20. Unlike individuals entering under other visas who receive a date

  certain when their authorized stay in a given status expires, individuals whose I-94

  indicates admission until “D/S” are treated differently. When a student may have violated

  the terms of their status, they are not immediately out of status or unlawfully present in

  the U.S.A. Typically, if a DSO suspects or confirms that a violations occurred, the DSO

  investigates and potentially terminates the SEVIS record. Prior to reports of SEVP

  terminating SEVIS records in late March 2025, I know of no prior situation in which SEVP

  terminated a SEVIS record based on any interaction with law enforcement. Rather, in my

  experience, their practice has been to notify the DSO of the violation. It is up to the DSO

  to determine if termination is warranted. In fact, in the rare instance where HSI may ask

  a DSO to terminate, the DSO would not terminate if upon further review there was no

  violation.

         14.   Formal adjudications deeming F-1 students “out of status” or “unlawfully

  present” are made by (1) an immigration judge during removal proceedings; or (2) USCIS

  during adjudication of an immigration benefit application or petition. Nevertheless, a

  “failure to maintain status,” which is evidenced by termination of a SEVIS record, is

  serious. Depending on a given Administration’s immigration enforcement priorities, it

  can lead to the student being placed in removal proceedings, adjudicated out of status,


                                              6
Case 2:25-cv-02998-KSH-AME        Document 29       Filed 05/05/25    Page 7 of 11 PageID: 467




  and deported. A “failure to maintain status” can also make it difficult or impossible for

  an individual to obtain a green card in the future. It can serve as a negative discretionary

  factor in the green card application, and if someone is in the U.S. without status for over

  180 days and then leaves the country, they can be inadmissible (and ineligible for a green

  card) when they attempt to return.

         15.     The reasons to terminate a SEVIS record are clearly articulated in SEVIS

  guidance     and regulations.   Having    a misdemeanor       conviction,   or   merely a

  fingerprint/name “hit” in the FBI database, does not lawfully trigger SEVIS record

  termination. Additionally, having a visa revoked by DOS is also not, in and of itself,

  without any further review, a reason to terminate a student’s SEVIS record. In my

  experience prior to 2025, I am aware of no time when ICE terminated a SEVIS record

  solely due to visa revocation, an FBI criminal check “hit,” or even evidence of a

  misdemeanor conviction. This is because, by ICE and DOS’ own guidance, these are not

  grounds to trigger SEVIS record termination.

  Recent SEVIS Terminations and their Ongoing Harm

         16.     In late March 2025, it became clear that ICE practices changed. Between

  March 28, 2025, and April 11, 2205, I observed and learned of several hundred student

  visa revocations and have direct review of dozens of international students whose SEVIS

  records were terminated with a termination reason of “Otherwise failing to maintain

  status: Individual identified in criminal records check and/or has had the VISA revoked.

  SEVIS record has been terminated.” ICE’s forced record termination of a single student

  record based on either a criminal records check or a visa revocation would be very

  abnormal, but terminating several hundred as ICE has done is unprecedented. This is




                                               7
Case 2:25-cv-02998-KSH-AME        Document 29       Filed 05/05/25    Page 8 of 11 PageID: 468




  also the first time I am aware of that a visa revocation has been specifically referenced as

  a basis of termination of the SEVIS record.

         17.    I also observed that for several of these students, including some of plaintiff

  students in this action, the SEVIS record termination reason was changed from an initial

  notation reading “FAILURE TO MAINTAIN STATUS” to “other . . . .” The “failure to

  maintain status” description was inexplicably deleted from the record after a few days.

  The actions within SEVIS reflect a significant shift in behavior for ICE. With the first

  group of terminations, ICE acted in place of a DSO, using the termination dropdown

  menu available to DSOs, which included the option of the initial notation “FAILURE TO

  MAINTAIN STATUS.” With this change, ICE appears to now be using the termination

  dropdown menu available only to SEVP staff. While this may seem inconsequential, it is

  not.

         18.    Evidence of the termination options available to different parties is found

  at: https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-

  terminations/termination-reasons. The termination reasons available to ICE/SEVP are

  on the “SEVP-Only Termination Reasons” table. While the records’ use of “SEVP Only

  Termination Reasons” confirms that ICE is unilaterally terminating student records–

  which, to my knowledge, it never did before–ICE has failed to provide any regulatory basis

  for these terminations. The reasons given are not within those permitted by SEVIS

  regulations and guidance.

         19.    In late April 2025, I received information from students and institutions

  that I had consulted with that ICE had begun reactivating some of the previously

  terminated SEVIS records, including those of plaintiffs in this action. However, there are

  unresolved immigration status concerns that must be addressed because they pose


                                                8
Case 2:25-cv-02998-KSH-AME         Document 29       Filed 05/05/25    Page 9 of 11 PageID: 469




  serious consequences for students. The SEVIS records that I have seen, including

  redacted versions of plaintiffs in this action, continue to include a gap in their

  maintenance of student status, in some cases nearly a month, caused by termination of

  their SEVIS record based on the results of a criminal record check or a visa revocation.

         20.    This record of termination and gap in status in the SEVIS system raises

  several serious concerns, not least of which is defamation. Any attorney that represents

  nonimmigrants knows that it is critical their records are as clean as possible. It is very

  likely that derogatory history like this will have imminent and/or long-term impacts on

  students’ ability to remain in the country, maintain their F-1 student status, obtain

  OPT/STEM OPT, transfer to another nonimmigrant status, return to the United States

  after travel abroad, and adjust their status. It also forces students to decide whether to

  admit to a violation of status when seeking immigration benefits in the future. Without

  clear guidance, students would have no choice but to disclose any gaps or terminations

  on their SEVIS record to avoid risking their credibility. A failure to admit a violation could

  result in a declaration of perjury and an admission could lead to a denial of a benefit

  depending on whether the adjudicator determines the SEVIS termination was a violation

  of status.

         21.    In this case, Plaintiffs’ SEVIS records indicate that plaintiffs were

  terminated for approximately a month based on criminal records checks or visa

  revocation. That derogatory information can be accessed by other governmental agencies

  and departments including DOS, CBP, and USCIS. There is every reason to believe that

  this information will cause various agencies to flag these Plaintiffs in future dealings,

  given the criminal and immigration violations identified as the basis for termination.

  Further, the derogatory SEVIS record history will likely trigger scrutiny by CBP, including


                                                9
Case 2:25-cv-02998-KSH-AME         Document 29        Filed 05/05/25   Page 10 of 11 PageID:
                                          470



 through secondary inspection when a student arrives at a port of entry for inspection and

 admission.

        22.    The fact that the plaintiffs’ statuses were returned to “Active” does not

 address the negative history that now appears in their SEVIS records. ICE’s solution here

 does not even offer the same level of protection as Reinstatement of Student Status. In

 reinstatement cases, a student that has failed to maintain status, unlike the plaintiffs in

 this case, applies for and receives retroactive approval to remain in the US to continue to

 seek the benefits of their status with confirmation that the related violation will not cause

 future immigration problems. The current termination and activation of records provides

 no comparable confirmation that the related violation will not cause future harm. At best,

 setting the records to “Active” without clarification creates confusion and uncertainty on

 key aspects of the students’ status. This reactivation of records with gaps in status is

 something less than an adjudicated benefit, such as reinstatement, that guarantees the

 student the ability to seek and obtain benefits now and into the future.

        23.    The period that the Plaintiffs’ SEVIS records were terminated, causing them

 to become unemployed, also causes them ongoing harm. For students graduating this

 year who must apply for OPT, the regulations require one full year of academic attendance

 to qualify for filing. DHS has not issued any guidance instructing USCIS to waive the gap

 in these records for the purpose of OPT eligibility. These students have also been harmed

 because they were unemployed during the period their SEVIS records were terminated.

 This is important because students cannot have more than 90 days of unemployment

 under OPT and no more than 150 days of unemployment throughout the OPT and STEM

 OPT periods, or else they will be ineligible.




                                                 10
Case 2:25-cv-02998-KSH-AME   Document 29   Filed 05/05/25   Page 11 of 11 PageID:
                                    471
